     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 1 of 14
                                                                     13


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18
                                   UNITED STATES DISTRICT COURT
19
                                       DISTRICT OF NEVADA
20
     V5 TECHNOLOGIES, LLC, d/b/a COBALT                Case No. 2:17-cv-02349-KJD-NJK
21   DATA CENTERS,
22                    Plaintiff,                       [STIPULATED]
                                                       PROTECTIVE ORDER
23          v.
24   SWITCH, LTD., a Nevada limited company;
     SWITCH BUSINESS SOLUTIONS, LLC, a
25   Nevada limited liability company; SWITCH
     COMMUNICATIONS GROUP L.L.C., a
26   Nevada limited liability company; SWITCH,
     INC., a Nevada corporation,
27
                      Defendants.
28


                                                                 [STIPULATED] PROTECTIVE ORDER
                                                                      Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 2 of 14
                                                                     13


 1             Before the Court is the Parties’ Stipulated Protective Order, which the Court being fully

 2   advised as to the same, it is hereby ORDERED. The protections afforded in this Protective Order

 3   also apply to any third party producing documents or electronically stored information in this

 4   action.

 5             1.     STATEMENT OF PURPOSE

 6             Discovery in this litigation could involve production of confidential, proprietary, or

 7   private information for which special protection from public disclosure and from use for any

 8   purpose other than prosecuting this litigation may be warranted. Such confidential and

 9   proprietary materials and information consist of, among other things, confidential business or

10   financial information, information regarding confidential business practices, or other confidential

11   research, development, or commercial information (including information implicating privacy

12   rights of third parties), or information otherwise generally unavailable to the public. Accordingly,

13   to expedite the flow of information, to facilitate the prompt resolution of disputes over

14   confidentiality of discovery materials, to adequately protect information the parties are entitled to

15   keep confidential, to ensure that the parties are permitted reasonable necessary uses of such

16   material in preparation for and in the conduct of trial, to address their handling at the end of the

17   litigation, and to serve the ends of justice, a protective order for such information is justified in

18   this matter.

19             2.     DEFINITIONS

20                    2.1     Action: The above-captioned action.

21                    2.2.1   “CONFIDENTIAL” Information or Items: information (regardless of how

22   it is generated, stored or maintained) or tangible things that may reveal a trade secret, or other

23   confidential research, development, financial, or other information: (1) that is not commonly

24   known by or available to the public and derives value, actual or potential, from not being

25   generally known to, and not being readily ascertainable by proper means by, other persons who

26   can obtain value from its disclosure or use; (2) that contains protected personally identifiable

27   information; or (3) any other material that is confidential pursuant to applicable law.

28
                                                       -1-

                                                                        [STIPULATED] PROTECTIVE ORDER
                                                                             Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 3 of 14
                                                                     13


 1                  2.2.2    “HIGHLY CONFIDENTIAL INFORMATION”: passwords, technical

 2   design specifications, equipment serial numbers, equipment model numbers, IP addresses, and

 3   social security numbers. The parties agree that the producing party may redact Highly

 4   Confidential Information by redacting such information and replacing it with a box that reads:

 5   “Highly Confidential Information,” subject to the receiving party’s right to challenge the

 6   redaction. To the extent a party challenges another party’s redaction and the Court orders

 7   disclosure, the parties will work in good faith to agree on the handling of such Highly

 8   Confidential Information.

 9                   2.3     Counsel: Outside Counsel of Record and In-House Counsel (as well as

10   their support staff).

11                   2.4     Designating Party: a Party or Non-Party that designates information or

12   items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

13                   2.5     Disclosure or Discovery Material: all items or information, regardless of

14   the medium or manner in which it is generated, stored, or maintained (including, among other

15   things, testimony, transcripts, and tangible things), that are produced or generated in disclosures

16   or responses to discovery in this matter.

17                   2.6     Expert and/or Consultants: a person with specialized knowledge or

18   experience in a matter pertinent to the litigation, along with his or her support staff, who has been

19   retained by a Party or its counsel to serve as an expert witness or as a consultant in the Action.

20                  2.7      In-House Counsel: attorneys who are employees of a party to the Action.

21   In-House Counsel does not include Outside Counsel of Record or any other outside counsel.

22                   2.8     Non-Party: any natural person, partnership, corporation, association, or

23   other legal entity not named as a Party to this Action.

24                   2.9     Outside Counsel: attorneys who are not employees of a party to this Action

25   but are retained to represent or advise a party to this Action and includes support staff.

26                   2.10    Party: any party to this Action, including all of its officers, directors, and

27   employees.

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                                                      -2-

                                                                        [STIPULATED] PROTECTIVE ORDER
                                                                             Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 4 of 14
                                                                     13


 1                  2.11    Producing Party: a Party or Non-Party that produces Disclosure or

 2   Discovery Material in this Action.

 3                  2.12       Professional Vendors: persons or entities that provide litigation support

 4   services (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

 5   organizing, storing, or retrieving data in any form or medium) and their employees and

 6   subcontractors.

 7                  2.13    Protected Material: any Disclosure or Discovery Material that is designated

 8   as “CONFIDENTIAL.”

 9                  2.14    Receiving Party: a Party that receives Disclosure or Discovery Material

10   from a Producing Party.

11           3.     SCOPE

12           The protections conferred by this Order cover not only Protected Material (as

13   defined above), but also (1) any information copied or extracted from Protected Material; (2) all

14   copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

15   conversations, or presentations by Parties or their Counsel that reveal Protected Material. Any

16   use of Protected Material at trial shall be governed by the orders of the trial judge.

17           4.     DESIGNATING PROTECTED MATERIAL

18                  4.1     Designating Material for Protection. Each Party or Non-Party that

19   designates information or items for protection under this Order must take care to limit any such

20   designation to specific material that qualifies under the appropriate standards. The Designating

21   Party must designate for protection only those parts of material, documents, items, or oral or

22   written communications that qualify so that other portions of the material, documents, items, or

23   communications for which protection is not warranted are not swept unjustifiably within the

24   ambit of this Order. If it comes to a Designating Party’s attention that information or items that it

25   designated for protection do not qualify for protection, that Designating Party must promptly

26   notify all other Parties that it is withdrawing the inapplicable designation.

27                  4.2     Manner and Timing of Designations. Except as otherwise provided in

28   this Order, or as otherwise stipulated or ordered, Disclosure or Discovery Material that qualifies
                                                     -3-

                                                                        [STIPULATED] PROTECTIVE ORDER
                                                                             Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 5 of 14
                                                                     13


 1   for protection under this Order must be clearly so designated before or at the time the material is

 2   disclosed or produced. Designation in conformity with this Order requires:

 3                          (a)      A Party or Third Party may designate discovery material as

 4   Protected Material in the following manner:

 5                                   i.     TIFF/PDF Documents. In the case of documents or other

 6   materials (apart from depositions or other pre-trial testimony), by affixing the appropriate legend

 7   to each page of the document.

 8                                   ii.    Native Documents. With respect to documents produced in

 9   native format, by including the designation in the file name.

10                                   iii.   Non-Written Materials. In the case of non-text Protected

11   Material (e.g., videotape, audio tape, computer disk), by labeling the outside of the material with

12   the designation.

13                          (b)      A Party or Non-Party that makes original documents available for

14   inspection need not designate them for protection until after the inspecting Party has indicated

15   which documents it would like copied and produced. During the inspection and before the

16   designation, all of the material made available for inspection shall be deemed

17   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants copied and

18   produced, the Producing Party must determine which documents, or portions thereof, qualify for

19   protection under this Order. Then, before producing the specified documents, the Producing

20   Party must affix the “CONFIDENTIAL” designation to each page that contains Protected

21   Material. If only a portion or portions of the material on a page qualifies for protection, the

22   Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate

23   markings in the margins).

24                          (c)      For testimony given in depositions, the Designating Party may

25   identify the Disclosure or Discovery Material on the record, including exhibits before the close of

26   the deposition. Upon such designation by counsel, the reporter of the deposition shall place the

27   designated testimony and exhibits in a separate volume marked “CONFIDENTIAL.”

28   Alternatively, counsel may designate a deposition or portion thereof as “CONFIDENTIAL” by
                                                   -4-

                                                                      [STIPULATED] PROTECTIVE ORDER
                                                                           Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 6 of 14
                                                                     13


 1   designating those portions of the transcript by page and line within twenty days of receipt of the

 2   transcript and by so informing the other Parties of that designation. During the twenty-day

 3   period, the entire transcript shall be treated as “CONFIDENTIAL.”

 4                   4.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent

 5   failure to designate qualified information or items does not, standing alone, waive the Designating

 6   Party’s right to secure protection under this Order for such material. Upon timely correction of a

 7   designation, the Receiving Party must make reasonable efforts to assure that the material is

 8   treated in accordance with the provisions of this Order. If the Receiving Party has disclosed the

 9   materials before receiving the corrected designation, the Receiving Party must notify the

10   Designating Party in writing of each such disclosure.

11          5.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

12                  5.1     Timing of Challenges. A Party shall not be obligated to challenge the

13   propriety of a “CONFIDENTIAL” material designation at the time made, and failure to do so

14   shall not preclude a subsequent challenge thereto.

15                 5.2      Challenge Process. In the event that any Party to this litigation disagrees

16   at any stage of these proceedings with such designation, such Party shall provide to the Producing

17   Party written notice of its disagreement with the designation. The Parties shall first try to resolve

18   such a dispute in good faith. If the dispute cannot be resolved, the Designating Party shall have

19   15 business days to either seek a protective order from the Court confirming the designation, or

20   withdraw the challenged designation. The Parties acknowledge and agree this challenge

21   procedure shall not be used to gain any unfair tactical advantage in this case, such as through

22   burdening a producing party with unnecessary voluminous challenges. Any disputes in this

23   regard shall, after the required good faith meet-and-confer, be presented to the Court under the

24   Court’s procedure for discovery disputes.

25                  5.3     The burden of proving that information has been properly designated as

26   “CONFIDENTIAL” is on the Producing Party. Protected Material designated

27   “CONFIDENTIAL” shall continue to be treated as such unless and until ordered otherwise by the

28   Court, or re-designated by the designating party.
                                                    -5-

                                                                      [STIPULATED] PROTECTIVE ORDER
                                                                           Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 7 of 14
                                                                     13


 1           6.      ACCESS TO AND USE OF PROTECTED MATERIAL

 2                   6.1     Basic Principles. A Receiving Party may use Protected Material disclosed

 3   or produced by another Party or by a Non-Party in connection with this Action only for

 4   prosecuting, defending, or attempting to settle this Action. Such Protected Material may be

 5   disclosed only to the categories of persons and under the conditions described in this Order.

 6   When an Action(s) has been terminated, a Receiving Party must comply with the provisions of

 7   section II below (FINAL DISPOSITION). Protected Material must be stored and maintained by a

 8   Receiving Party at a location and in a secure manner that ensures that access is limited to the

 9   persons authorized under this Order.

10                   6.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless

11   otherwise ordered by the Court or permitted in writing by the Designating Party, a Receiving

12   Party may disclose any information or item designated “CONFIDENTIAL” only to:

13                           (a)     the Receiving Party;

14                           (b)     the Receiving Party’s Outside Counsel of Record in this Action, as

15   well as employees of said Outside Counsel of Record to whom it is reasonably necessary to

16   disclose the information for this Action;

17                           (c)     Members of the in-house legal departments for the Parties or their

18   parents or affiliates, including their paralegals, investigative, technical, secretarial, and clerical

19   personnel who are engaged in assisting them in this litigation;

20                           (d)     the officers, directors, and employees (including In-House Counsel)

21   of the Receiving Party to whom disclosure is reasonably necessary for this Action;

22                           (e)     Experts (as defined in this Order) of the Receiving Party to whom

23   disclosure is reasonably necessary for this Action and who have signed the “Acknowledgment

24   and Agreement to Be Bound” (Exhibit A);

25                           (f)     the Court and its personnel;

26                           (g)     court reporters and their staff;

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28
                                                       -6-

                                                                         [STIPULATED] PROTECTIVE ORDER
                                                                              Case No. 2:17-cv-02349-KJD-NJK
           Case 2:17-cv-02349-KJD-NJK Document 43
                                               45 Filed 12/19/17
                                                        12/20/17 Page 8 of 14
                                                                           13


      1                            (h)     professional jury or trial consultants, mock jurors, and Professional

      2     Vendors to whom disclosure is reasonably necessary for this Action and who have signed the

      3     “Acknowledgment and Agreement to Be Bound” (Exhibit A);

      4                            (i)     the author or recipient of a document containing the information or

      5    a custodian or other person who otherwise possessed or knew the information;

      6                            (j)     during their depositions, witnesses, and attorneys for witnesses, in

      7    this Action to whom disclosure is reasonably necessary; provided: the deposing Party requests

      8    that the witness sign the form attached as Exhibit A hereto; and they will not be permitted to keep

      9    any confidential information unless otherwise agreed by the Designating Party or ordered by the

    10     Court. Pages of transcribed deposition testimony or exhibits to depositions that reveal Protected

    11     Material may be separately bound by the court reporter and may not be disclosed to anyone

    12     except as permitted under this Protective Order; and

    13                             (k) any mediator or settlement officer, and their supporting personnel,

    14     mutually agreed upon by any of the Parties engaged in settlement discussions.

    15                  6.3        Use in Court. Unless otherwise permitted by statute, rule or prior Court

    16     order, papers filed with the Court under seal shall be accompanied by a contemporaneous motion

    17     for leave to file those documents under seal, and shall be filed consistent with the Court’s

See 18    electronic filing procedures. The party filing the papers bears the burden of overcoming the
    order issued
concurrently herewith
    19    presumption in favor of public access to papers filed in court only with respect to the Protected

    20     Material included in the papers that the filing party designated “CONFIDENTIAL.” If the party

    21     filing the papers includes Protected Material designated “CONFIDENTIAL” by another Party or

    22     Third Party, the Designating Party shall bear the burden of overcoming said presumption in its

    23     brief filed in response to the filing party’s motion to seal.

    24             7.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED

    25     IN OTHER LITIGATION

    26             If any Party receiving documents or information covered by this Order is subpoenaed in

    27     another action or proceeding, or served with a document demand, and such subpoena or

    28     document demand seeks material which was produced or designated as “CONFIDENTIAL” by
                                                     -7-

                                                                             [STIPULATED] PROTECTIVE ORDER
                                                                                  Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 9 of 14
                                                                     13


 1   the other Party, the Party receiving the subpoena or document demand shall give prompt written

 2   notice to counsel for the Designating Party and shall, to the extent permitted by law, withhold

 3   production of the subpoenaed material until any dispute relating to the production of such

 4   material is resolved. The Party to whom the subpoena or document demand is directed shall not

 5   take any position concerning the propriety of such subpoena or document demand or the

 6   discoverability of the information sought that is adverse to the Designating Party should the

 7   Designating Party oppose the request for production of such documents or information. This

 8   Order is not intended to affect a Party’s obligation to respond to an order from a court of

 9   competent jurisdiction compelling a production of documents subject to this Order.

10           8.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE

11   PRODUCED IN THIS LITIGATION

12                             (a)   The terms of this Order apply to information produced by a Non-

13   Party in this Action and designated as “CONFIDENTIAL.” Such information produced by Non-

14   Parties in connection with this litigation is protected by the remedies and relief provided by this

15   Order. Nothing in these provisions should be construed as prohibiting a Non-Party from seeking

16   additional protections.

17                             (b)   In the event that a Party is required, by a valid discovery request, to

18   produce a Non-Party’s confidential information in its possession, and the Party is subject to an

19   agreement with the Non-Party not to produce the Non-Party’s confidential information, then the

20   Party shall:

21                                   (1)    promptly notify in writing the Requesting Party and the

22   Non-Party that some or all of the information requested is subject to a confidentiality agreement

23   with a Non-Party;

24                                   (2)    promptly provide the Non-Party with a copy of the

25   Stipulated Protective Order in this Action, the relevant discovery request(s), and a reasonably

26   specific description of the information requested; and

27                                   (3)     make the information requested available for inspection by

28   the Non-Party, if requested.
                                                      -8-

                                                                        [STIPULATED] PROTECTIVE ORDER
                                                                             Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 10 of 14
                                                                      13


 1                          (c)     If the Non-Party fails to seek a protective order from this court

 2   within 14 days of receiving the notice and accompanying information, the Receiving Party may

 3   produce the Non-Party’s confidential information responsive to the discovery request. If the

 4   Non-Party timely seeks a protective order, the Receiving Party shall not produce any information

 5   in its possession or control that is subject to the confidentiality agreement with the Non-Party

 6   before a determination by the Court. Absent a court order to the contrary, the Non-Party shall

 7   bear the burden and expense of seeking protection in this Court of its Protected Material.

 8          9.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

 9          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

10   Protected Material to any person or in any circumstance not authorized under this Protective

11   Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

12   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

13   Protected Material, and (c) inform the person or persons to whom unauthorized disclosures were

14   made of all the terms of this Order.

15          10.     MISCELLANEOUS

16                  10.1    Right to Further Relief. Nothing in this Order abridges the right of any

17   person to seek its modification by the Court in the future.

18                  10.2    Right to Assert Other Objections. By stipulating to the entry of this

19   Protective Order, no Party waives any right it otherwise would have to object to disclosing or

20   producing any information or item on any ground not addressed in this Stipulated Protective

21   Order. Similarly, no Party waives any right to object on any ground to use in evidence of any of

22   the material covered by this Protective Order.

23                  10.3    Nothing in this Protective Order shall limit any Producing Party’s use of its

24   own documents or shall prevent any Producing Party from disclosing its own confidential

25   information to any person. Such disclosures shall not affect any confidential designation made

26   pursuant to the terms of this Order so long as the disclosure is made in a manner which is

27   reasonably calculated to maintain the confidentiality of the information. Nothing in this Order

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                                                      -9-

                                                                       [STIPULATED] PROTECTIVE ORDER
                                                                            Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 11 of 14
                                                                      13


 1   shall prevent or otherwise restrict counsel from rendering advice to their clients, and in the course

 2   thereof, relying on examination of documents designated “CONFIDENTIAL.”

 3                10.4      Transmission of notification by email to a Party’s/Non-Party’s Outside

 4   Counsel is acceptable for all notification purposes within this Order. A Non-Party may designate

 5   an alternative representative for notification purposes if it is not represented by counsel.

 6          11.     TERMINATION OF THIS ACTION AND CONTINUING OBLIGATIONS

 7          Within sixty (60) days after final conclusion of all aspects of this action, including any

 8   appeals, any Party and all persons who received (or tendered to any other person) documents or

 9   materials designated for CONFIDENTIAL treatment (or any copy thereof) must (i) return such

10   documents and materials to the Producing Party or (ii) certify in writing to counsel to the

11   Producing Party that the Receiving Party or such person(s) has destroyed these documents and

12   materials and the portions of all other material containing such CONFIDENTIAL information.

13          Notwithstanding these provisions, Outside Counsel shall be permitted to retain copies of

14   court filings, papers served in connection with this action, transcripts (including deposition

15   transcripts), and exhibits containing or reflecting CONFIDENTIAL documents or materials.

16   Counsel for each party shall use reasonable efforts to review and/or destroy any or all emails and

17   electronic documents that may contain CONFIDENTIAL information. Counsel shall not be

18   required to destroy or remove from any emails or electronic work product any summaries or

19   references to CONFIDENTIAL information provided such work product does not contain actual

20   copies (whole or excerpted) or attachments constituting the actual CONFIDENTIAL information.

21   Instead, counsel is required to maintain such CONFIDENTIAL documents or materials in

22   confidence and consistent with the terms of this Protective Order.

23          This Order shall survive the final termination of this litigation with respect to any such

24   retained CONFIDENTIAL materials. This Court retains and shall have continuing jurisdiction

25   over the Parties and recipients of material designated as CONFIDENTIAL for enforcement of the

26   provisions of this Order following termination of this litigation.

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28
                                                     - 10 -

                                                                       [STIPULATED] PROTECTIVE ORDER
                                                                            Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 12 of 14
                                                                      13


 1         So ORDERED and SIGNED this 20th
                                      ____ day of December, 2017

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 3                                        __________________________________

 4                                              United States Magistrate Judge

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                                           - 11 -

                                                            [STIPULATED] PROTECTIVE ORDER
                                                                 Case No. 2:17-cv-02349-KJD-NJK
     Case 2:17-cv-02349-KJD-NJK Document 43
                                         45 Filed 12/19/17
                                                  12/20/17 Page 13 of 14
                                                                      13


 1                                              EXHIBIT A

 2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3          I, _____________________________________ [print                or type full   name], of

 4   _____________________________________ [print or type full address], declare under penalty

 5   of perjury that I have read in its entirety and understand the Stipulated Protective Order that was

 6   issued by the United States District Court for the District of Nevada in the above-captioned case.

 7   I agree to comply with and to be bound by all the terms of this Stipulated Protective Order and I

 8   understand and acknowledge that failure to so comply could expose me to sanctions and

 9   punishment in the nature of contempt. I solemnly promise that I will not disclose in any manner

10   any information or item that is subject to this Stipulated Protective Order to any person or entity

11   except in strict compliance with the provisions of this Order.

12          I further agree to submit to the jurisdiction of the United States District Court for the

13   District of Nevada for the purpose of enforcing the terms of this Stipulated Protective Order, even

14   if such enforcement proceedings occur after termination of these actions.

15

16   Date: _____________________________________

17   City and State where sworn and signed: _____________________________________

18   Printed name: _____________________________________

19   Signature: _____________________________________

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                                                                      [STIPULATED] PROTECTIVE ORDER
                                                                           Case No. 2:17-cv-02349-KJD-NJK
